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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 American Library Association, et al.,

                          Plaintiffs,

                 v.                                    Case No. 1:25-cv-01050

 Keith Sonderling, et al.,

                          Defendants.



                        [PROPOSED] ORDER GRANTING PLAINTIFFS’
                       MOTION FOR TEMPORARY RESTRAINING ORDER

Upon consideration of Plaintiffs’ motion for a temporary restraining order and accompanying

brief, it is hereby:

         ORDERED that the motion is GRANTED; it is further

         ORDERED that Defendants Keith Sonderling, Institute of Museum and Library

Services, Amy Gleason, U.S. DOGE Service, U.S. DOGE Service Temporary Organization,

Russell Vought, and U.S. Office of Management and Budget are ENJOINED from further

pausing, canceling, or otherwise terminating Institute of Museum and Library Services grants or

contracts or failing to disburse funds to recipients according to such grants or contracts for

reasons other than the grantees’ or contractors’ non-compliance with applicable grant or contract

terms.

         SO ORDERED.
